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 1 LAW OFFICES OF CHRIS COSCA
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   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
11
                                   Plaintiff,        STIPULATION REGARDING EXCLUDABLE
12                                                   TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                       ORDER
13
     JAMES RANDOLPH SHERMAN,                         DATE: March 22, 2018
14                                                   TIME:  10:00 a.m.
                                  Defendant.         COURT: Hon. Morrison C. England, Jr.
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17
                                                STIPULATION
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           1.     By previous order, this matter was set for status on March 22, 2018.
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           2.     By this stipulation, the parties now move to continue the status conference to
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     June 7, 2018, and to exclude time between March 22, 2018 and June 7, 2018 under Local
21
     Code T4.
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           3.     The parties agree and stipulate, and request that the Court find the following:
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                  a)     Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                  b)     Defense counsel desires additional time to review discovery, investigate,
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            and to confer with his client concerning discovery, investigation, potential options for the
      STIPULATION TO CONTINUE STATUS CONF            1
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 1        defense and trial preparation.

 2                c)      Counsel for defendant believes that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5                d)      The government does not object to the continuance.

 6                e)      Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the defendant

 8        in a trial within the original date prescribed by the Speedy Trial Act.

 9                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10        § 3161, et seq., within which trial must commence, the time period of March 22, 2018 to

11        June 7, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

12        B(iv) [Local Code T4] because it results from a continuance granted by the Court at

13        defendants’ request on the basis of the Court’s finding that the ends of justice served by

14        taking such action outweigh the best interest of the public and the defendant in a

15        speedy trial.

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     STIPULATION TO CONTINUE STATUS CONF            2
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 1         4.      Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
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 5         IT IS SO STIPULATED.

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     Dated: March 19, 2018                               /s/ Jason Hitt
 8                                                       JASON HITT
                                                         Assistant United States
 9                                                       Attorney
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11
                                                         /s/ Chris Cosca
     Dated: March 19, 2018
12                                                       CHRIS COSCA
13                                                       Counsel for Defendant
                                                         JAMES SHERMAN
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                                                  ORDER
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           IT IS SO ORDERED.
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     Dated: March 20, 2018
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      STIPULATION TO CONTINUE STATUS CONF            3
